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                                   STATEMENT OF FACTS


Your Affiant,                  , is a Special Agent with the Federal Bureau of Investigation (FBI)
assigned to the Washington Field Office Joint Terrorism Task Force (JTTF) squad CT-4,
specializing in domestic terrorism. Prior to my employment as a Special Agent, I was an
Investigative Specialist working covert surveillance investigations for the Federal Bureau of
Investigation for five years. I was also a sworn Law Enforcement Officer in the Loudoun County
Sheriff’s Office for eight years prior to joining the Federal Bureau of Investigation. In my duties
as a Special Agent, and through my prior experience, I have gained training and experience in
interviewing and interrogation techniques, arrest procedures, search warrant applications, the
execution of searches and seizures, the exploitation of lawfully obtained evidence and data, and
various other procedures. In addition to my regular duties, I am also currently reviewing public
tips, videos, and documentation, among other evidence, associated with the riots and civil
disorder that occurred on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.
The U.S. Capitol building is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized persons with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
As the proceedings continued in both the House and the Senate, and with Vice President Mike
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the U.S. Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, by breaking
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windows, and assaulting members of the U.S. Capitol Police; as others in the crowd encouraged
and assisted those acts.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of the United States Congress was effectively suspended until shortly after 8:00 p.m.
Vice President Pence remained in the United States Capitol from the time he was evacuated from
the Senate Chamber until the sessions resumed.
During national news coverage of the aforementioned events, video footage which appeared to
be captured on mobile devices of persons present on the scene depicted evidence of violations of
local and federal law, including scores of individuals inside the U.S. Capitol building without
authority to be there.
Since January 6, 2021, the FBI has been investigating and identifying those who were inside of
the Capitol without authority and disrupted the proceedings. During that investigation, Dr.
David WALLS-KAUFMAN (WALLS-KAUFMAN) of Washington, D.C. was identified as one
of the individuals illegally inside the Capitol Building. WALLS-KAUFMAN was initially
identified after he was named in a civil lawsuit regarding actions committed during the events of
January 6, 2021. This identification of WALLS-KAUFMAN utilized to name him in the civil
lawsuit was initially provided by online, open source, civilian investigators who run a website
called “Sedition Hunters”, located at https://seditionhunters.org.
After the civil lawsuit was served on WALLS-KAUFMAN, the included information and lawsuit
were provided to the Federal Bureau of Investigation from the Metropolitan Police Department
via email. Provided within the lawsuit were several screen captures from open-source media files
that depict WALLS-KAUFMAN inside the Capitol Building and engaged in a scuffle with Law
Enforcement Officers. The first screen capture is from the provided lawsuit documentation, taken
from open-source video, and shows WALLS-KAUFMAN, wearing a red, white, and black
motorcycle style jacket with the brand name Teknic written on the shoulders.
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The second screen capture (below) is also taken from the lawsuit and shows WALLS-
KAUFMAN wearing the same jacket in a YouTube.com video interview, discussing his work in
the Chiropractic field. This video was viewed by your Affiant, however it was subsequently
deleted from YouTube.com before your Affiant was able to preserve the video as evidence. A
search warrant was served on YouTube.com in an attempt to recover the above mentioned video,
but was unsuccessful in recovering the video.
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In response to this tip, your Affiant reviewed WALLS-KAUFMAN’s driver’s license photo, and
confirmed the screenshots included in the lawsuit contained similarities in appearance and
appeared to be the same person.
Your affiant reviewed several U.S. Capitol security videos, and Metropolitan Police Department
body worn cameras, and open-source tip videos, that captured video footage of WALLS-
KAUFMAN within the U.S. Capitol on January 6, 2021. The videos show that WALLS-
KAUFMAN entered through a doorway near the USCS Rotunda Interior Door, joined in large
groups, chanted when he was inside, and wandered through the U.S. Capitol hallways, including
the Rotunda, Statuary Hall, East Stairs and Upper House door area before being forced to exit.
Below are several images from this security video and body worn cameras, with WALLS-
KAUFMAN circled:
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Through Law enforcement database checks, a telephone number of 202-                    was identified
as actively belonging to WALLS-KAUFMAN. AT&T later confirmed the subscriber
information as belonging to WALLS-KAUFMAN since 2010 and was currently active as of
November 2021. Directly after the U.S. Capitol Riot, a geofence search warrant was signed and
served on all internal cell sites within the U.S. Capitol building. This search warrant captured all
the identifying information to all devices that accessed the internal cell site towers within the
U.S. Capitol building on January 6, 2021. Upon searching this data, 202-               appeared as a
positive result, showing its active locations inside the U.S. Capitol building on January 6, 2021.
This data was utilized to identify potential areas where WALLS-KAUFMAN was inside the U.S.
Capitol building on January 6, 2021 and those locations were corroborated, and confirmed, by
your Affiant reviewing Capitol Building Security footage in those areas. Through this video
review, WALLS-KAUFMAN was positively identified on approximately nine different U.S.
Capitol security cameras, and approximately twenty Metropolitan Police Department body worn
cameras on January 6, 2021.
To further the positive identification of WALLS-KAUFMAN, physical surveillance of WALLS-
KAUFMAN was conducted on October 19, 2021. Still photographs of WALLS-KAUFMAN,
taken by your Affiant on that surveillance, are provided below:
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Based upon your Affiant’s comparison of the driver’s license photo for WALLS-KAUFMAN, to
the U.S. Capitol security video and body worn camera footage, and personal observations, your
Affiant is confident that WALLS-KAUFMAN entered through the Rotunda Interior door and
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joined the riot inside the U.S. Capitol building on January 6, 2021. His face on the driver’s
license appears to be the same person as the person identified on the Capitol Security videos,
MPD body worn cameras and physical surveillance photos included herein.
Based on the foregoing, your Affiant submits there is probable cause to believe that WALLS-
KAUFMAN violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.
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Your Affiant submits there is also probable cause to believe that WALLS-KAUFMAN violated
40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                         _________________________________


                                                                                     Special Agent
                                                                   Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this seventh day of June, 2022.

                                                                       Zia M. Faruqui
                                                                       2022.06.07
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                                                    _____________________________________
                                                               HONORABLE ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE
